Case 2:95-cr-20114-.]PI\/| Document 120 Filed 06/24/05 Page 1 of 2 Page|D 49

IN THE UNITED STATES DISTRICT cOURT fe - 5
FOR THE wESTERN DISTRICT oe TENNESSEE _
wESTERN DIVISION che§gi

 

UNITED STATES OF AMERICA

 

Plaintiff,

V.

Criminal No.€_*j;-Z&//{/ Ml

:;;;Uzba~QJ §§3¢$¢54£

(lBO-Day Continuance)

 

 

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Defendant(e).

 

REPORT ON FUGITIVE STATUS AND RESETTING

 

Ae indicated by the eignature of counsel for the United
Statee, through its Aseietant United Statee Attorney, this case
remains an active case and there are continuing efforts to locate
the above-referenced fugitive defendant(e). A follow-up report
on efforts to bring the above-referenced fugitive defendant(e)
before the Court will be made on Tueedav, December 20, 2005, at

lO:BO a.m.

So oRDERED this 24th day of June, 2005.

…W‘~ §§
)`RA» j 5“-
JON PHIPPS MCCALLA
UN 'I`ED STA'I’ES DISTRIC'I' JUDGE

Thie document entered on the docket heat fn compriapg§
with Hu|e 55 and/or 32(b) FRCrP on "'¢Q 2 ‘ J

 

jm/

Aesistant Unit§d Statee Attorney

    

UN1TED STEATS D1STR1C COURT - WESTER D1'S'TR1CT oF ENNESSEE

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ThiS notice confirms a copy of the document docketed as number 120 in
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Honorable J on McCalla
US DISTRICT COURT

